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Giddy

 

February 17, 2020

Ernie Kim
Via Email
Erniekim@gmail.com

Dear Ernie,

Congratulations! Giddy Holdings, Inc. (“Giddy”) is pleased to offer you the position of Chief
Marketing Officer, a full-time position based in our Austin office. This letter will set forth the
details of your employment with Giddy. Please read it carefully, and sign and date below.

1. Salary and Reporting

In your role, you will be reporting directly to Brett Jacobson, CEO (unless or until Giddy’s
reporting structure changes). Your start date will be on or before Monday, March 2, 2020. You
will receive an annual salary of $200,000, paid bi-weekly, every other Friday, in the amount of
$7,692.30 as earned, less applicable tax withholding and paid in accordance with Giddy’s normal
payroll procedures.

2. Bonus

In addition to your base compensation, employees in good standing will receive a quarterly
bonus (“Quarterly Bonus”) equal to 0.4% of Giddy’s gross revenue minus the direct cost of
goods and shipping. A Quarterly Bonus will be paid along with your second March paycheck,
based on sales revenue from December Ist through February 28th. Another Quarterly Bonus will
be paid along with your second June paycheck, based on sales revenue from March | st through
May 31st. Another Quarterly Bonus will be paid along with your second September paycheck,
based on sales revenue from June Ist to August 31st. A final Quarterly Bonus will be paid along
with your second December paycheck, based on sales revenue from September Ist through
November 30th. Additionally, you will receive an annual bonus (“Annual Bonus”) equal to 0.4%
of Giddy’s gross revenue minus the direct cost of goods and shipping. The Annual Bonus will be
paid along with your first January paycheck. In calculating any Quarterly or Annual Bonuses,
revenue will be determined based on funds received by Giddy, which have cleared our company
bank account.

A few further notes regarding Bonuses: (1) Employee will be eligible for bonuses the first day of
work. Should the Employee fail to begin work the Company will not be eligible for any Bonus.
(2) If your employment is terminated by Giddy, you will remain eligible for a Quarterly Bonus
for that particular Quarter during which your employment was ended, so long as the payment
date of the Quarterly Bonus for which you are eligible (see the paragraph above) is within 45
calendar days of the date of your termination (the “Grace Period”). (3) If your employment is

Giddy Holdings, Inc.
1114 East Cesar Chavez Street Austin, TX 78702 EXHIBIT

512.952.0440 B

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terminated by Giddy, you will remain eligible for an Annual Bonus for the year during which
your employment

was ended, so long as the payment date of the Annual Bonus for which you are eligible is within
45 calendar days of the date of your termination (the “Grace Period”).

Finally, in the event Giddy is acquired while you are employed by the Company, you will
receive a 0.4% Acquisition Bonus based on the purchase price of the Company minus any
outstanding debt. This Acquisition Bonus will be paid out by Giddy within fifteen (15) days of
receipt of funds (the “Payment Date”). If you terminate your employment with Giddy, or your
employment is terminated by Giddy, you will remain eligible for an Acquisition Bonus, so long
as (1) the Acquisition agreement was executed prior to you terminating your employment with
Giddy or your employment being terminated by Giddy, and (2) the payment date of the
Acquisition Bonus is within 30 calendar days of the date of your termination (the “Grace
Period”).

3. Benefits

The details and stipulations of all of Giddy’s benefits can be found in the Company Handbook,
which you will be provided once your employment begins. Please read these materials carefully
as the list below is intended only as a brief outline. As a regular full-time employee, you are
entitled to the following benefits. For more information, please consult Human Resources.

Paid Time Off — Total of up to 20 Days Per Year
. Six (6) paid holidays
Two (2) paid floating holidays
Up to twelve (12) paid Personal Time Off (PTO) days, which are earned ratably per pay
period. PTO accruals begin upon hire and can be used once accrued.
Employee will be able to take off 5 business days in April which will not be deducted
from his PTO.

Medical and dental insurance becomes effective the first day of the month following the first
full calendar month of employment. Giddy covers 100% of the base Silver PPO Plan for the
employee, their spouse and dependents. Employees may elect to buy a different plan, and
additional premiums will be deducted from their paychecks on a pre-tax basis.

Gym Membership — Up to $100 per month maximum for the employee only.

An example of your annualized compensation, less applicable tax withholding and waiting
periods, is outlined below:

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Annualized Salary: $200,000

Annualized Healthcare Contribution* $17,100 ($475 per employee, $475 per
spouse and $475 for | to 9 children per
month

Projected Q2, Q3 & Q4 2020 and Q1

 

2021 Annualized Quarterly Bonuses* $1,191,976
Accrued Annual Bonuses

aforementioned Quarters* $1,191,976
Total: $2,601,052*

*The aforementioned calculation represent an estimate and not guaranteed.
4. At-Will Employment

Your employment here is “at-will” which means that either you or Giddy may terminate the
employment relationship at any time and for any reason whatsoever, so long as it is not
prohibited by law. Additionally, the terms of your employment may be modified with or without
cause or prior notice, including your title, compensation, benefits and/or reporting structure, as
well as Giddy’s personnel policies and procedures. The “at will” nature of your employment
may only be changed in a document signed by both Brett Jacobson, CEO, and you.

All new employees at Giddy are subject to an introductory period of 90 days. During this period,
you will have the opportunity to learn about the position and the company. Likewise, Giddy will
use this period to determine whether or not you are a good fit for the position. Introductory
periods may be extended for legitimate business reasons, performance reasons, or because of
approved absences taken by you during the period. Please note that during the introductory
period, as well as the entire course of your employment, you will be an at-will employee, so
employment is not guaranteed for either the entire 90 days of the introductory period or any
period thereafter.

5, General

Like all of Giddy’s employees, you will be required to sign your new hire paperwork within 72
hours of the beginning date of your employment. Our offer is contingent upon receipt of
documentary evidence of your identity and eligibility to work in the United States, as well as the
completion of a satisfactory reference check. Otherwise, our employment relationship with you

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may be terminated. You will also be required to complete an I-9 form and provide the
appropriate identification necessary to complete the form. Attached is a list of acceptable

documents. You will need to bring an item from list A, or one item from list BAND C on your
first day. If you do not bring in proper identification, you will not be able to work.

Please confirm your acceptance of these terms by returning a signed copy of this letter to Human
Resources by the close of business on Tuesday, February 18, 2020. An original will be provided
as part of your new hire paperwork. This letter, along with your new hire paperwork, sets forth
the terms of your employment with Giddy. Therefore, this agreement supersedes any prior
representations or agreements between you and Giddy, whether written or oral. This agreement
may not be modified or amended except by a written agreement signed by Brett Jacobson, CEO,
and you.

If you have any Human Resources questions, please call Human Resources at 512.856.5509.

We are very excited about the prospect of you joining our team, and we look forward to the
addition of your professionalism and experience to help Giddy achieve its goals.

Very truly yours,

DocuSigned by:

Brett Nacobsow.

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Brett Jacobson
CEO
Giddy Holdings, Inc.

DocuSigned by:

Agreed: | €yyic Lim Date: 2/20/2020
erdeegapendsaom

 

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LISTS OF ACCEPTABLE DOCUMENTS
All documents must be UNEXPIRED

Employees may present one selection from List A
or a combination of one selection from List B and one selection from List C.

LISTA LIST B LIST C

 

Documents that Establish Documents that Establish Documents that Establish
Both Identity and Identity Employment Authorization
Employment Authorization OR AND
1, U.S. Passport or U.S, Passport Card 1. Driver's license or ID card issued by a 1. A Social Security Account Number
State or outlying possession of the card, unless the card indudes one of

2. Permanent Resident Card or Alien

 

Registration Receipt Card (Form 1-551) United States provided it contains a the following restrictions:

; - a photograph or information such as (1) NOT VALID FOR EMPLOYMENT

. : name, date of birth, gender, height, eye

3. Foreign passport that contains a color, and address (2) VALID FOR WORK ONLY WITH
temporary |-551 stamp or temporary - - - INS AUTHORIZATION
1-551 printed notation on a machine- 2. ID card issued by federal, state or local (3) VALID FOR WORK ONLY WITH
readable immigrant visa govemment agencies or entities, DHS AUTHORIZATION

ns | provided it contains a photograph or Ss eS SSees ——

4, Employment Authorization Document information such as name, date of birth,| 2. Certification of report of birth issued
that contains a photograph (Form gender, height. eye color, and address by the Department of State (Forms
1-766) . an DS-1350, FS-545, FS-240)

 

 

 

 

a — 3. School ID card with a photograph ————
5. For a nonimmigrant alien authorized 3. Original or certified copy of birth
to work for a specific employer 4. Voter's registration card certificate issued by a State,
because of his or her status: ~ county, municipal authority, or
a. Foreign passport: and Oe Miley ard wees ae of me me os |
4: earing an official sea
b. Form 1-94 or Form I-94A that has 6. Military dependents ID card __ Dearing an olicial seal __ |
the following: 7. U.S. Coast Guard Merchant Mariner 4, Native American tribal document
(1) The same:name:as the pasepert: ae 5, U.S. Citizen ID Card (Form 1-197)
and 8. Native American tribal document : ey: |
(2) An endorsement of the alien's ee =— 6. Identification Card for Use of |
nonimmigrant status as long as 9. Driver's license issued by a Canadian Resident Citizen in the United
that period of endorsement has govemment authority States (Form 1-179)
not yet expired and the PO —=
proposed employment is not in For persons under age 18 who are | 7- Employment authorization
conflict with any restrictions or unable to present a document document issued by the
limitations identified on the form. listed above: Department of Homeland Security

6. Passport from the Federated States of 10. School record or report. cord
Micronesia (FSM) or the Republic of # (PEN ORL OSOT OF Opa es -

the Marshall Islands (RMI) with Form | 144, Clinic, doctor, or hospital record |
1-94 or Form 1-94A indicating rc arr |
nonimmigrant admission under the 12. Day-care or nursery school record

Compact of Free Association Between
the United States and the FSM or RMI

 

 

 

 

 

Examples of many of these documents appear in Part 13 of the Handbook for Employers (M-274).

Refer to the instructions for more information about acceptable receipts.

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